Case 0:21-cv-60385-AHS Document 6 Entered on FLSD Docket 02/19/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                  CASE NO.: 0:21-cv-60385-AHS

  SAMEER FAROOQ,

             Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC, d/b/a ARS ACCOUNT
  RESOLUTION SERVICES,

           Defendant.
  _____________________________________/

         JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OF COUNT I
                OF COMPLAINT AS TO VIOLATIONS OF THE FDCPA

        COME NOW, Plaintiff, Sameer Farooq, and Defendant, Healthcare Revenue Recovery

 Group, LLC, d/b/a ARS Account Resolution Services (“ARS”) by and through their undersigned

 counsel, request entry of an Order dismissing Count I of Plaintiff’s Complaint without Prejudice

 as to all claims of violations of 15 U.S.C. Section 1692e; 1692e(2)(A), and 1692f against

 Defendant, Healthcare Revenue Recovery Group, LLC, d/b/a ARS Account Resolution Services

 by Plaintiff, individually, and the proposed class.

        Dated this 19th day of February, 2021.


  /s/Jibrael S. Hindi                                  /s/ Skohlmyer@shepardfirm.com
  Jibrael S. Hindi, Esquire                            Ernest H. Kohlmyer, III, Esquire
  Florida Bar No. 118259                               Florida Bar No. 110108
  jibrael@jibraellaw.com                               Skohlmyer@shepardfirm.com
  Thomas J. Patti                                      Shepard, Smith, Kohlmyer & Hand, P.A.
  Florida Bar No. 118377                               2300 Maitland Center Parkway, Suite 100
  tom@jibraellaw.com                                   Maitland, Florida 32751
  The Law Offices of Jibrael S. Hindi                  Telephone (407) 622-1772
  110 SE 6th Street, Suite 1744                        Attorneys for Defendant, ARS
  Fort Lauderdale, Florida 33301

                                                   1
Case 0:21-cv-60385-AHS Document 6 Entered on FLSD Docket 02/19/2021 Page 2 of 2




  Telephone: 954-907-1136
  Facsimile: 855-529-9540
  Attorneys for Plaintiff

  /s/ Paul Herman                                   /s/ Joel A. Brown
  Paul Herman, Esq.                                 Joel A. Brown, Esq.
  Florida Bar No. 405175                            Florida Bar No.: 66575
  paul@consumeradvocatelaw.com                      joel.brown@friedmanandbrown.com
  Consumer Advocates Law Group, PLLC                Friedman & Brown, LLC
  4801 Linton Blvd., Ste. 11A-560                   3323 NW 55th Street
  Delray Beach, FL 33445                            Fort Lauderdale, Florida 33309
  Telephone: 561-236-8851                           Phone: (954) 966-0111
  Facsimile: 561-431-2352                           Attorneys for Plaintiff
  Attorneys for Plaintiff




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

 February 19, 2021, via the Court Clerk’s CM/ECF. I further certify that a copy was furnished to

 Jibrael S. Hindi, Esquire and Thomas J. Patti, Esquire of The Law Offices of Jibrael S. Hindi at

 jibrael@jibraellaw.com and tom@jibraellaw.com; Paul A. Herman, Esquire of Consumer

 Advocates Law Group, PLLC. at paul@consumeradvocatelaw.com; and Joel A. Brown, Esquire

 of Friedman & Brown, LLC. at joel.brown@friedmanandbrown.com (Attorneys for Plaintiff).

                                             /s/ Ernest H. Kohlmyer, III
                                             Ernest H. Kohlmyer, III, Esquire
                                             Florida Bar No.: 110108
                                             skohlmyer@shepardfirm.com
                                             Shepard, Smith, Kohlmyer & Hand, P.A.
                                             2300 Maitland Center Parkway, Suite 100
                                             Maitland, Florida 32751
                                             Telephone (407) 622-1772
                                             Facsimile (407) 622-1884
                                             Attorneys for Defendant, Healthcare Revenue
                                             Recovery Group, LLC, d/b/a ARS Account
                                             Resolution Services

                                                2
